     Case 4:17-cv-00405 Document 6-1 Filed in TXSD on 04/13/17 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

ELIZABETH ESSERY,                              §
 Plaintiff                                     §
                                               §
                                               §
v.                                             §      CIVIL ACTION NO.: 4:17-CV-00405
                                               §
HARTFORD LLOYDS INSURANCE                      §
COMPANY,                                       §
 Defendant.                                    §

                                           ORDER

       Before the Court is the Parties’ Agreed Motion to Dismiss with Prejudice.

Accordingly, all claims in the above-captioned case are DISMISSED WITH PREJUDICE,

each party to bear their own costs and attorneys’ fees.

       It is SO ORDERED.

       Signed this the ______ day of _____________, 2017.



                                            ____________________________________
                                            EWING WERLEIN, JR.
                                            UNITED STATES DISTRICT JUDGE
